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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

 UNITED STATES OF AMERICA                       )
                                                )
         v.                                     )       Criminal No. 18-cr-30051-MGM
                                                )
 (1) GREGG A. BIGDA and                         )
 (2) STEVEN M. VIGNEAULT,                       )
             Defendants.                        )

                              STIPULATED PROTECTIVE ORDER

         Pursuant to Federal Rule of Criminal Procedure 16(d) and Local Rule 116, the parties

 stipulate and it is hereby ORDERED as follows:

       1.        For purposes of this Order, the term “Discovery Materials” means all materials

produced by the government in connection with this case to any defendant on or after the date of

this agreement, including but not limited to records or communications subpoenaed by the

government from non-parties to this litigation, business records, medical records, grand jury

transcripts and exhibits, interview reports and recordings, police reports, electronic messages, text

messages, and surveillance video. “Personally Identifiable Information” (“PII”) shall include

individuals’ dates of birth, social security numbers, phone numbers, addresses, e-mail addresses,

social media identifiers, and other identifying numbers and information.

       2.      All Discovery Materials provided by the United States in this case are subject to

this Protective Order and may be used by any defendant and his counsel solely in connection with

the defense of this case (including any subsequent related indictment or information, and including

investigation, trial preparation, trial, and appeal) and not for any other purpose.

       3.      In order to safeguard the defendants’ Sixth Amendment right to a fair trial

uncontaminated by prejudicial pretrial publicity, no one who is provided access to any Discovery
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Materials, including the defendants, the defense teams, any experts retained by the defense, and any

potential witnesses, shall make or participate in the making of any extrajudicial disclosure of any

Discovery Materials (or any information contained in Discovery Materials) that, at the time of

disclosure, have not already been publically disclosed. “Extrajudicial disclosure” means the

disclosure to third parties not participating in the defense of this case, including but not limited to

the media. This provision does not prevent defense counsel from disclosing Discovery Materials or

information contained in Discovery Materials in public court hearings or public court filings.

       4.     The defendants and their counsel shall not disclose any Discovery Materials to anyone

except (1) members of the defense teams (attorneys, co-counsel, paralegals, legal interns,

investigators, translators, litigation support personnel or litigation support vendors, the defendants,

and secretarial staff) and (2) experts engaged (with or without remuneration) to assist in the

preparation of the defense (collectively, “authorized persons”). The defense teams may show

Discovery Materials to potential witnesses and/or their counsel but witnesses and/or counsel shall

not be allowed to retain copies of these materials without first obtaining permission from the

government or the Court. All Discovery Materials shall be maintained by authorized persons in a

secure place and manner such that only authorized persons have access to them.

       5.        Prior to disclosing Discovery Materials to authorized persons, witnesses, or their

counsel, defense counsel shall make the person to whom they wish to disclose the Discovery Materials

aware of this Order and provide them a copy of it. In addition, prior to making any such disclosure,

defense counsel shall ensure that the person to whom disclosure is to be made agrees to abide by the

terms of this Protective Order and signs a copy of this Protective Order. Defense counsel shall

maintain a list of persons to whom materials are disclosed and retain copies of the Protective Order

signed by such persons.
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       6.      No one who is provided access to any PII, including the defendants, the defense

teams, any experts retained by the defense, and any potential witnesses, shall make or participate

in the making of any disclosure of such PII, except for purposes related to the defense of this case.

The defendants and their counsel must redact all PII in papers filed with the Court. The defendants

and their counsel may not use or disseminate the PII of any individual for purposes unrelated to the

defense of this case.

       7.      Certain Discovery Materials produced by the government before, on, or after the date

of this agreement contain particularly sensitive information, including, without limitation, records

related to juvenile victims and civilian witnesses, phone and text message communications of

witnesses, personnel files, grand jury materials, medical records, and records related to the

Massachusetts Civil Service Exam (collectively, “Sensitive Discovery Materials”). The government

shall clearly identify Sensitive Discovery Materials.

         8.        Any papers filed with the Court by a defendant that: (1) quote directly from

 Sensitive Discovery Materials, (2) summarize Sensitive Discovery Materials, or (3) include copies

 of Sensitive Discovery Materials as attachments, shall be filed provisionally under seal, unless the

 government agrees to the public filing of such information, or identical quoted material has already

 been publicly disclosed in a charging document, or the Court rules that it may be filed on the public

 docket. Nothing in this agreement shall impair a defendant’s right to use any Sensitive Discovery

 Materials at any pre-trial hearing or at trial.

         9.    The government shall use reasonable care when designating documents or

 information as Sensitive Discovery Materials. Nothing in this Protective Order shall prevent a

 defendant from contending that documents or information designated as Sensitive Discovery

 Materials have been improperly designated. A defendant may, at any time, request that the
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 government cancel or modify the Sensitive Discovery Materials designation with respect to any

 document or information contained therein.

        10.    A defendant shall not be obligated to challenge the propriety of a designation of

 Sensitive Discovery Materials at the time of production, and a failure to do so shall not preclude a

 subsequent challenge thereto. A challenge shall be written, shall be served on counsel for the

 government, and shall particularly identify the documents or information that a defendant contends

 should be differently designated.

       11.     Any modification of this Protective Order will be done only by order of the Court.

Any party may apply to the Court for relief from or modification of any provision hereof.



 SO STIPULATED:                                       ANDREW E. LELLING
                                                      UNITED STATES ATTORNEY

                                              By:     /s/ Deepika Bains Shukla
                                                      Deepika Bains Shukla
                                                      Assistant U.S. Attorney
                                                      /s/ Christopher Perras
                                                      Christopher Perras
                                                      Trial Attorney, DOJ

                                                      /s/ Matthew D. Thompson
                                                      Matthew D. Thompson, Esq.
                                                      Counsel for Gregg A. Bigda

 IT IS SO ORDERED:


 KATHERINE A. ROBERTSON
 UNITED STATES MAGISTRATE JUDGE

 Date: __________________



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